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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                 CIVIL ACTION
 VERSUS                                                   NO. 12-1924
 CITY OF NEW ORLEANS                                      SECTION "E" (2)



                         NOTICE TO PRODUCE HARD COPY


      Because R. Doc. 629 contains more than 50 pages, counsel must deliver to

chambers within 3 working days a hard copy of the submissions in a binder with tabbed

dividers for all exhibits and attachments. The hard copy of the submissions must be

printed from CM/ECF so that it has the CM/ECF document header on all pages indicating

the case number, record document number, filing date, and page number. The cover of

the binder must include the case name, case number, document name, and record

document number. If there are more than five (5) exhibits and attachments, the binder

must include a table of contents describing each exhibit and attachment and listing which

tab corresponds to each exhibit or attachment. No notice of compliance need be filed.

             New Orleans, Louisiana, this 23rd day of August, 2022.



                                               SUSIE MORGAN
                                               UNITED STATES DISTRICT JUDGE

                                               Issued for the court by:

                                               Brad Newell
                                               Case Manager - Section "E"
                                               504-589-7714
